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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO                LL      K Or r
                                   EASTERN DIVISION                         ~t ,~ _     j4   1I
                                                                     IdZt
 UNITED STATES OF AMERICA,

                Plaintiff,

        vs.

 DYLAN D. POLK,                                          INDICTMENT
   aka "Dunk"
                                                         18 U.S.C. § 922(g)(1)
                Defendant.                               18 U.S.C. § 922(o)(1)
                                                         18 U.S.C. § 924(a)(2)
                                                         18 U.S.C. § 924(a)(8)
                                                         18 U.S.C. § 924(c)(1)(A)(i)
                                                         21 U.S.C. § 841(a)(1)
                                                         21 U.S.C. § 841(b)(1)(A)(vi)
                                                         21 U.S.C. § 841(b)(1)(C)
                                                         FORFEITURE ALLEGATIONS




THE GRAND JURY CHARGES:


                                           COUNT 1
                       (Possession with Intent to Distribute Cocaine and
                               400 Grams or More of Fentanyl)

       1.      On or about October 3, 2022, in the Southern District of Ohio, the defendant,

DYLAN D. POLK, aka "Dunk", did knowingly, intentionally, and unlawfully possess with

intent to distribute a mixture or substance containing a detectable amount of cocaine, a

Schedule II controlled substance, and 400 grams or more of a mixture or substance containg a

detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidnyl] propanamide, commonly

referred to as "fentanyl", a Schedule II controlled substance.

       In violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(vi) and 841(b)(1)(C).
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                                          COUNT 2
            (Possession of a Firearm in Furtherance of a Drug Trafficking Crime)

       2.      On or about October 3, 2022, in the Southern District of Ohio, the defendant

DYLAN D. POLK, aka "Dunk", did knowingly possess a firearm or firearms in furtherance of

a drug trafficking crime for which he may be prosecuted in a court of the United States, that is,

possession with intent to distribute cocaine and fentanyl, in violation of 21 U.S.C. §§ 841(a)(1),

as alleged in Count One of this Indictment.

       In violation of 18 U.S.C. § 924(c)(1)(A)(i).



                                          COUNT 3
                              (Felon in Possession of a Firearm)

       3.      On or about October 3, 2022, in the Southern District of Ohio, the defendant

DYLAN D. POLK, aka "Dunk", knowing he had previously been convicted of a crime

punishable by imprisonment for a term exceeding one year, did knowingly possess a firearm or

firearms, to wit, a Glock, Model 23, Gen4, .40 caliber pistol, bearing serial number BLTX371, a

Glock, Model 30, .45 caliber pistol, bearing serial number WAN901, a Glock, Model 27 Gen4, .40

caliber pistol, bearing serial number BNTE412, a Beretta, Model PX4 Storm, .40 caliber pistol,

bearing serial number PZ508891, a Kimber, Model Rapide, 9mm caliber pistol, bearing serial

number KF129537, and a Sig Sauer, Model SIGM400, 5.56 caliber rifle, serial number 20J012241,

and said firearm or firearms were in and affecting interstate commerce.

       In violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(8).




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                                           COUNT 4
                                 (Possession of a Machine Gun)

       4.      On or about October 3, 2022, in the Southern District of Ohio, the defendant

DYLAN D. POLK, aka "Dunk", did knowingly possess a machine gun, that is a Glock, Model

30, .45 caliber pistol, bearing serial number WAN901, with attached conversion device, commonly

referred to as a "Glock Switch" or "Glock Auto Sear", which is a part or combination of parts

designed and intended for use in converting a weapon into a machine gun.

       In violation of 18 U.S.C. §§ 922(o)(1) and 924(a)(2).



                                FORFEITURE ALLEGATION A

       5.      The allegations of this Indictment are real leged and by this reference fully

incorporated herein for the purpose of alleging forfeiture to the United States of America in

accordance with 21 U.S.C. § 853(a)(1) and (2).

       6.      Upon conviction of the offense alleged in Count One of this Indictment, the

defendant, DYLAN D. POLK, aka "Dunk," shall forfeit to the United States, in accordance with

21 U.S.C. § 853(a)(1) and (2), all right, title and interest in any property constituting, or derived

from, proceeds obtained, directly or indirectly, as a result of such violation, and any property used,

or intended to be used, in any manner or part, to commit, or to facilitate the commission of the

violation, including, but not limited to, the following:

               a.      All property seized on or about October 3, 2022, during the execution of a
                       search warrant at 4206 Sorren Court, Columbus, Ohio, including:
                       • A PL$ Money Order having a face value of $1,154.00 in United States
                           Currency;
                       • Approximately $4,717.00 in United States currency;
                       • A Glock, Model 23 Gen4, .40 caliber pistol, bearing Serial Number
                           BLTX371;




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                      • A Glock, Model 30, .45 caliber pistol, bearing Serial Number
                        WAN901, with attached conversion device, commonly referred to as a
                        "Glock Switch" or "Glock Auto Sear";
                      • A Beretta, Model PX4 Storm, .40 caliber pistol, bearing Serial Number
                        PZ508891;
                      • A Kimber, Model Rapide, 9mm pistol, bearing Serial Number
                        KF129537;
                      • A Sig Sauer, Model SIG M400, 5.56 rifle, bearing Serial Number
                        20J012241; and
                      • Assorted magazines and ammunition, including:
                        o Approximately 34 rounds of assorted ammunition; and
                        o Approximately 11 rounds of .40 caliber ammunition.

               b.     All property seized on or about October 3, 2022, during the execution of a
                      search warrant at 6183 Winnebago Street, Grove City, Ohio, including:
                      • Approximately $20,000.00 in United States currency;
                      • A Glock, Model 27 Gen4, .40 caliber pistol, bearing Serial Number
                          BNTE412; and
                      • Assorted magazines and ammunition, including approximately 6
                          rounds of .40 caliber ammunition.

      Forfeiture notice pursuant to 21 U.S.C. § 853(a)(1) and (2) and Rule 32.2 of the
Federal Rules of Criminal Procedure.


                              FORFEITURE ALLEGATION B

       7.      The allegations of this Indictment are realleged and by this reference fully

incorporated herein for the purpose of alleging forfeiture to the United States of America in

accordance with 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c).

       8.      Upon conviction of one or more of the offenses alleged in Counts Two, Three, and

Four of this Indictment, the defendant, DYLAN D. POLK, aka "Dunk," shall forfeit to the United

States, in accordance with 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c), all firearms and

ammunition involved in or used in such offenses, including, but not limited to:

               a.     All firearms, magazines, and ammunition seized on or about October 3,
                      2022, during the execution of a search warrant at 4206 Sorren Court,
                      Columbus, Ohio, including:
                      • A Glock, Model 23 Gen4, .40 caliber pistol, bearing Serial Number
                          BLTX371;


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                      •       A Glock, Model 30, .45 caliber pistol, bearing Serial Number
                              WAN901, with attached conversion device, commonly referred to as a
                              "Glock Switch" or "Glock Auto Sear";
                      •       A Beretta, Model PX4 Storm, .40 caliber pistol, bearing Serial Number
                              PZ508891;
                      •       A Kimber, Model Rapide, 9mm pistol, bearing Serial Number
                              KF129537;
                      •       A Sig Sauer, Model SIG M400, 5.56 rifle, bearing Serial Number
                              20J012241; and
                      •       Assorted magazines and ammunition, including:
                              o Approximately 34 rounds of assorted ammunition; and
                              o Approximately 11 rounds of .40 caliber ammunition.

              b.     All firearms, magazines, and ammunition seized on or about October 3,
                     2022, during the execution of a search warrant at 6183 Winnebago Street,
                     Grove City, Ohio, including:
                     • A Glock, Model 27 Gen4, .40 caliber pistol, bearing Serial Number
                         BNTE412; and
                     • Assorted magazines and ammunition, including approximately 6
                         rounds of .40 caliber ammunition.

        Forfeiture notice pursuant to 18 U.S.C. § 924(d)(1), 28 U.S.C. § 2461(c), and Rule 32.2
of the Federal Rules of Criminal Procedure.




                                                A TRUE BILL


                                                 s/Foreperson
                                                FOREPERSON



KENNETH L. PARKER
UNITED STATES ATTORNEY
                          r
T MOTHY Dt RICHARD`             9455)
Assistant United States Attorney




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